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                                   ORIGINAL
                                                                              o;

                      IN THE UNITED STATES DISTRICT COURT
                                                                       M AUE 30 P J oq
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                                    CLCRK__
                                    DUBLIN DIVISION                           P!


HASSAN BEASELY,                                )
                                               )
              Petitioner.                      )
                                               )
       V.                                      )          CV 316-044
                                               )          (Formerly CR 308-001)
UNITED STATES OF AMERICA,                      )
                                               )
              Respondent.                      )


                                          ORDER



       After a careftil, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed (doc. no. 7). The

Magistrate Judge recommended dismissal of the motion filed pursuant to 28 U.S.C. § 2255

because the decision in Johnson v. United States. 135 S. Ct. 2551 (2015) does not apply to

career offender enhancements under the sentencing guidelines. (Doc. no. 4, pp. 4-5); United

States V. Matchett. 802 F.3d 1185(1 Ith Cir. 2015).

       In his objections, Petitioner disagrees with Matchett. and asks that his case be held in

abeyance until the Supreme Court decides Beckles v. United States. 616 F. App' x 415 (11th

Cir. 2015), cen. granted, 136 S. Ct 2510(U.S. ,Iune 27, 2016)(No. 15-8544). As there is no

basis for holding the case in abeyance, the Court DENIES the request for a stay. (Doc. no.

7.) The Eleventh Circuit recently explained,"[Gjrants of certiorari do not themselves change

the (aw. and must not be used bv courts as a basis to grant relief that would othenvise be
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denied." In re Bradford. -F.3d-, No. I6-14512-J, 2016 WL 4010437, at *2(1 Ith Cir. July 27,

2016)(citing Schwab v. SecV. Dep't of Corr.. 507 F.3d 1297, 1298-99 (11th Cir. 2007)).

Regardless of the outcome in Beckles. the decision in Matchett is currently the controlling

case law in the Eleventh Circuit, and under that precedent, Petitioner is not entitled relief.

       Accordingly, the Court OVERRULES Petitioner's objections, ADOPTS the Report

and Recommendation of the Magistrate Judge as its opinion, DENIES the motion to stay

(doc. no. 7), DENIES AS MOOT Petitioner's motions for the appointment of counsel (doc.

no. 2), for leave to supplement his § 2255 motion at a later date (doc. no, 2), and to proceed

informa pauperis(doc. no. 3), and DISMISSES the § 2255 motion.

       Further, a federal prisoner must obtain a certificate of appealability ("CCA") before

appealing the denial of his motion to vacate. This Court "must issue or deny a certificate of

appealability when it enters a final order adverse to the applicant." Rule 11(a) to the Rules

Governing Section 2255 Proceedings. This Court should grant a COA only if the prisoner

makes a "substantial showing ofthe denial of a constitutional right." 28 U.S.C. § 2253(c)(2).

For the reasons set forth in the Report and Recommendation, and in consideration of the

standards enunciated in Slack v. McDaniek 529 U.S. 473, 482-84 (2000), Petitioner has

failed to make the requisite showing. Accordingly, the Court DENIES a COA in this case.'
Moreover, because there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Accordingly, Petitioner is not entitled to appeal in forma pauperis.

S^ 28 U.S.C. § 1915(a)(3).

       '"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule
11(a)to the Rules Governing Section 2255 Proceedings.
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upon the foregoing, the Court CLOSES thi^ civij^ action,

SO ORDERED this^^ day ol                        ,2016, at Augusta, Georgia.


                               ITED STATES DISTRICT JUDGE
